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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21.08387-MAYNARD

 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 TIFFANY LORRAINE CANDOFF,

       Defendant.
 ___________________________________:


                    NOTICE OF REQUEST FOR DISCLOSURES OF
                         EXPERT WITNESS SUMMARIES


       The defendant, through undersigned counsel, files this notice of request for

 disclosures of expert witness summaries pursuant to Fed. R. Crim. P. 16(a)(1)(G)

 and   paragraph N of the Standing Discovery Order.           The defendant requests

 disclosure of expert testimony the government intends to introduce at trial during

 its case-in-chief.   As to each potential expert witness, the government should

 disclose the name of the expert witness, the witness’ qualifications, present

 employment, a summary of the witness’ opinion, and the bases and reasons for the

 opinion. See, e.g., United States v. Ortega, 150 F.3d 937, 943 (8th Cir. 1998)(agent’s




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 testimony,   involving   specialized   knowledge   of   drug-related   activities   and

 paraphernalia, was expert opinion subject to disclosure).


                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         Federal Public Defender

                                         s/ Kristy Militello
                                         Kristy Militello
                                         Assistant Federal Public Defender
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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 11, 2021, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the

 foregoing document is being served this day on all counsel of record via

 transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.


                                          s/ Kristy Militello
                                          Kristy Militello




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